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                                     ATTACHMENT

                     Supplemental Civil Cover Sheet for Cases Removed
                                    From State Court

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